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                           UNITED STATES DISTRICT COURT

                      NORTHERN DISTRICT OF CALIFORNIA

                              SAN FRANCISCO DIVISION




ORACLE AMERICA, INC.                          Case No. CV 10-03561 WHA

              Plaintiff,

       v.


GOOGLE INC.

              Defendant.



                  SUMMARY AND REPORT OF NOEL POORE

                    SUBMITTED ON BEHALF OF PLAINTIFF
                          ORACLE AMERICA, INC.




pa-1474101

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II.    BACKGROUND AND QUALIFICATIONS
       8.       In 1985, I received a BA in Computer Science from Cambridge University,

Cambridge, England.

       9.       I have many years experience of working with system software for mobile

devices. From 2001 to 2008 I worked as a senior technical executive for SavaJe Technologies, a

company which developed a complete Java platform for smartphones. SavaJe was acquired by

Sun, which was later acquired by Oracle. Both in this role and in previous roles I gained a lot of

experience of measuring and optimizing the execution time and memory consumption of code

for mobile devices.

       10.      I am currently the lead architect for embedded middleware in JDK8 Embedded. I

am also the technical lead of a group which provides Java technology for iOS and Android

applications.

       11.      I am qualified to conduct performance analysis and analyze the results obtained

because I have many years experience of developing, performance testing, benchmarking, and
optimizing embedded Java software. At SavaJe I both supervised and took part in software

performance testing and analysis to maximize execution speed and minimize the memory

footprint of the SavaJe OS.

III.   PERFORMANCE ANALYSIS OF UNITED STATES PATENT NO. 5,966,702

       A.       Introduction
       12.      I performed experiments to estimate the benefits to Android from using the

functionality that Oracle accuses of infringing the ’702 patent, including disabling that

functionality in Android.

       13.      The baseline code for these experiments was the Froyo release of Android, pulled

from the public Google git repository as follows

                repo init –u git://android.git.kernel.org/platform/manifest.git –b froyo
                repo sync
       14.      Modifications (as detailed below) were made to the source in the local repository

to implement the experiments.


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       B.      Methodology – Experiment 1
       15.     I modified the dx tool to estimate the size of a dex file if duplicate constant pool

entries are not removed. Below are the steps I followed:

               (1) Download Android 2.2 (Froyo) source code.

               (2) Identify the source code that processes Java class files and packages the
                   output as Dalvik class files (also known as dex files).

               (3) Modify this source code to prevent the removal of duplicate constant pool
                   entries when multiple Java classes are combined into a single dex file.

               (4) Build the modified source code to create a modified dx.jar

               (5) Use the modified dx.jar to create dex files for several different jar files. Each
                   jar file was processed multiple times, controlling the duplicate removal
                   process to provide better measurement of the advantage gained by duplicate
                   removal.

The results are shown in the spreadsheet attached as Exhibit B.

       C.      Methodology – Experiment 2
       16.     Here, I aimed to estimate the size of a dex file if duplicate constant pool entries

are not removed, by extrapolation from Java class sizes. Below are the steps I followed:

               (1) I wrote an application to measure the amount of byte code contained in
                   one or more Java class files. This allows a simple calculation of the size of the
                   metadata contained in the class files.

               (2) I used the --statistics command line argument to the dx tool to determine the
                   amount of Dalvik code contained in the output dex file.

               (3) Making the assumption that in the absence of duplicate removal, the amount
                   of metadata in the amalgamated class file will be the same as the amount of
                   metadata in the separate class files, I performed a simple calculation to
                   estimate the size of the resulting dex file.

               (4) The estimated dex file size is
                  Size of Java classes – Java byte code size + Dalvik code size

The results are shown in the spreadsheet attached as Exhibit C.

       D.      Methodology – Experiment 3
       17.     Here, my goal was to analyze the contents of dexdump files to estimate the

amount of space saved by removing duplicate constant pool entries.




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               (1) I was provided with a set of dexdump files which were produced by running
                   the standard Android dexdump tool on optimized dex (“odex”) files taken
                   from an actual Android device. These are attached as Exhibit D.

               (2) I wrote a perl script which identifies the method and field definitions and the
                   method, field, type and string references in the dexdump file. I have attached
                   the perl script as Exhibit E. [INTERNAL NOTE – filename: analyze.pl]

               (3) The perl script identifies the number of each type of constant pool entry that
                   have been removed by the duplicate removal process, and estimates the
                   memory size of the removed duplicates.

               (4) The perl script outputs a number of statistics about the dexdump, including the
                   total amount of space saved by duplicate removal.

               (5) The output of the perl script was imported into a spreadsheet.
The results are shown in the spreadsheet attached as Exhibit F.

       E.      Source Code Modifications – Experiment 1
       18.     The modifications made to implement experiment 1 are contained in Appendix A.

       19.     The dex file format differs from the Java classfile format in the sense that instead

of a single constant pool, the constant pool is broken up into five sections. As input classes are

read, the dx tool accumulates the contents of each class (constants, fields, methods, code etc) into
an in-memory data structure. Each input class is processed independently and at this stage there

is no identification or removal of duplicate constants. Once all of the input classes have been

processed then the five constant pool sections are created by iterating through all of the constants

in the in-memory representation of the input classes. Each constant pool section has an

associated in-memory data structure where the constants of that kind are accumulated. It is in the

accumulation process that the removal of duplicate constant pool entries happens. The in-

memory representation of the constant pool sections uses a Java TreeMap data structure, which

implements the Map interface. As the Javadoc for the Map interface states (see

http://download.oracle.com/javase/1.5.0/docs/api/java/util/Map.html): “A map cannot contain

duplicate keys; each key can map to at most one value.”

       20.     The duplicate constant removal is essentially performed as a result of this

property of the TreeMap. The existing code checks to see if a constant already exists in the map

and returns that as the interned value of the constant if it does. This means that it is not possible


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to simply allow duplicate constant pool entries to accumulate without widespread modifications

to the way in which the dx tool is architected. To get around this, I forced the creation of

duplicate entries and made each duplicate unique by inserting a unique number into the value of

the duplicate. For example, the type “Ljava/lang/String;” could be duplicated as

“Ljava/lang/String123;”. The number is made unique by incrementing it each time a duplicate is

created within a specific section of the constant pool. Since this process lengthens the string and

therefore inserts extra bytes into the generated dex file, I modified the code to count the number

of bytes added so that they could be subtracted from the final file size to get more accurate

results.

           21.   I made this modification to the following classes, each of which represents one of

the five sections of the constant pool:

                 com.android.dx.dex.file.FieldIdsSection
                 com.android.dx.dex.file.MethodIdsSection
                 com.android.dx.dex.file.ProtoIdsSection
                 com.android.dx.dex.file.StringIdsSection
                 com.android.dx.dex.file.TypeIdsSection
           22.   Two points should be noted about this approach. Firstly, the different sections of

the constant pool are not completely independent from each other. For example, creating a

duplicate type “Ljava/lang/Object2;” causes an additional string constant “L/java/lang/Object2;”

to be created as well. If the experiment is carried out in a simplistic way where all five of the

constant pool sections are “re-duplicated” at the same time, then because of the renaming,

duplicates of duplicates are created, inflating the total number of constant pool entries and thus

the final dex file size. The results shown below demonstrate this problem. To avoid it, I modified

the code so that I could individually control the duplicate creation for each section of the

constant pool. I ran the modified dx tool 5 times for each input jar, creating duplicate entries for

only one section of the constant pool each time. The estimated final dex file size is then derived

by adding up the additions caused by the duplicate creation for each part of the constant pool.

           23.   Secondly, consider the fact that the input to the dx tool is a set of compiled Java

classes. Within a single class, there will frequently be multiple references to a single constant


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pool entry. Within the code of the dx tool, at the point where a constant pool entry is being added

to the TreeMap, this context is lost, and so there is a possibility that creating duplicate entries in

the way described will create duplicates that do not exist in the input Java class files. Rectifying

this would have required significant modifications to the dx source code.

        24.    These two points mean that the results gained by experiment 1 can be regarded as

an “upper bound estimate” of the dex file size in the absence of duplicate constant removal.

        25.    Experiment 1 was repeated on three different jar files representing popular

benchmarking applications, and also on the jar file containing the dx tool itself, as an example of

a complex application.

        F.     Source Code – Experiment 2
        26.    The code used to calculate the size of the Java byte code contained in one or more

Java class files is contained in Appendix B. No modifications were made to Android source code

for this experiment.

        27.    Experiment 2 was repeated on the same jars files as experiment 1, and also on the

jar for the dx tool itself, as an example of a larger and more complex application.

        G.     Source Code – Experiment 3
        28.    The perl script used to extract information from the dexdump files is contained in

Appendix C. No modifications were made to Android source code for this experiment.

        29.    The perl script takes a set of file names as arguments. Each file is examined in

turn.

        30.    The output of the perl script is data in CSV format. This was chosen to make it

easy to import the results into a spreadsheet where calculations could more easily be performed.

        31.    The basic approach of the perl program is to count the number of times each field,

method, type and string constant is used, and then estimate the additional size of the dex file if

the constants were duplicated rather than being referenced multiple times.




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       32.     For each file, each line of the file is examined in turn. Lines are examined for

patterns indicating class boundaries, field and method declarations, and references to method,

field, string and type constants.

       33.     Note that the dexdump files do not include any information about references to

prototype constants. These are allowed for in calculating the size required to store a method

constant.

       34.     Class boundaries are identified in order to make the estimation process more

accurate. As mentioned previously in the section “Source Code – Experiment 1”, the original

Java classes from which the dex file is created do not contain duplicate constant pool entries. To

take account of this, the perl script identifies class boundaries in the dexdump file, and only

counts a single instance of each constant per class.

       35.     Field and method declarations each include a reference to the associated

field/method constant, and are gathered in hashes called %fieldDefs and %methodDefs. In each

case, the field/method name is used as the key of the hash. The value is not used. Since each field

and method is only defined once, the existence of the key is all that matters.

       36.     References to method, field, string and type constants are found by identifying

occurrences of the strings “method@nnnn”, “field@nnnn”, “string@nnnn” and “type@nnnn”

respectively. The value of the constant is extracted as well. Four hashes are maintained, one for

each type of constant, with the key being the value of the constant and the value the number of

occurrences found. As mentioned above, only once occurrence of a constant is counted per class.

This is done by remembering the last class number in which a constant was referenced. When a

new reference is found, the current class number is compared with the last class number, and the

occurrence counted or dropped as appropriate.

       37.     Symbolic values are defined at the top of the perl program which are used to

determine the storage size required in a dex file to store the different kinds of constant. The

comments around these definitions indicate how the values were calculated using publicly

available Android documents.


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         38.     The dexdump files were created from odex files. These are files that have been

optimized from the original dex files. One of the optimizations is to convert many invoke-virtual

Dalvik instructions to invoke-virtual-quick instructions. These “quickened” instructions make

use of a register and a vtable offset to refer to the target method rather than an offset into the

method constant pool. This means that the number of constant pool references is reduced in the

odex file. This will reduce the apparent impact of the removal of duplicate references. Thus, the

results from this experiment should be regarded as an under-estimate of the true benefit derived

from duplicate constant removal.

         39.     Experiment 3 was run on a collection of dexdump files. Each of these files

contains a listing of the contents of an application odex file from a Nexus One smartphone.

         40.     Line 56 of the perl program declares a variable named $showDuplicatesCount. If

this is set to be non-zero, the perl script will output information about the number of constants it

finds that are referred to more than once. For each kind – method, string, type, and field, it will

output the most referenced item along with number of times it is referenced. Using this it can

easily be seen that every single odex file contains many constants that are referred to multiple

times.

         H.      Results – Experiment 1
         41.     The tables below show the results for experiment 1. The rows in each table show

the number of entries in each section of the constant pool in the output dex file, the file size of

the dex file (corrected for extra bytes added as described above), and the delta from the original

dex file size.




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IV.    PERFORMANCE ANALYSIS OF UNITED STATES PATENT NO. 6,061,520

       A.      Introduction
       54.     I performed experiments to estimate the benefits to Android from using the

functionality that Oracle accuses of infringing the ’520 patent, which including disabling that

functionality in Android.

       55.     The baseline code for these experiments was the Froyo release of Android, pulled

from the public Google git repository as follows

               repo init –u git://android.git.kernel.org/platform/manifest.git –b froyo
               repo sync
       56.     Modifications were made to the source in the local repository to implement the

experiments.

       B.      Methodology
       57.     I modified the dx tool to estimate the size of a dex file if the fill-array-data

instructions were not generated. Below are the steps I followed:

               (1) Download Android 2.2 (Froyo) source code.

               (2) Identify the source code that processes Java class files and packages the
                   output as Dalvik class files (also known as dex files).

               (3) Modify this source code to prevent the replacement of static array
                   initialization byte code sequences with the Dalvik fill-array-data instruction.

               (4) Build the modified source code to create a modified dx.jar

               (5) Use the modified dx.jar to create dex files for several different jar files,
                   recording the size of the output dex file in each case.
The results are shown in the spreadsheet attached as Exhibit G.

       C.      Source Code Modifications
       58.     The modifications made to Android source code to implement the experiment are

contained in Appendix D.

       59.     The dx tool translates Java byte code to Dalvik byte code as part of the process of

forming the output dex file. As a part of the translation procedure, the code contains a heuristic

that attempts to spot Java bytecode sequences that represent the initialization of arrays of


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primitive data types. These bytecode sequences are simulated (described as “play execution” in

the patent) and the initialized array values accumulated. So, rather than simply translating the

Java byte codes that initialize the array to the corresponding Dalvik byte codes, the dx tool

replaces the Java byte code array initialization sequence with a fill-array-data instruction that

copies the initialized value of the array into place in one instruction. The exact sequence of

Dalvik bytecodes involved in array allocation and initialization is shown below.

       60.     I modified the source code of the dx tool so that by setting an environment

variable NO_ARRAY_OPT, I could disable the heuristic described above. When the heuristic is

disabled, the fill-array-data instruction is not generated, and the original Java bytecode sequence

is directly translated into equivalent Dalvik instructions which individually assign constant

values to each initialized array element.

       61.     To run the dx tool with the environment variable set (thus disabling the heuristic)

I used a command such as

               NO_ARRAY_OPT=true ./dx –dex –output=initArrayTest10.dex
               initArrayTest10.class

       62.     To study the effect on dex file size for different primitive data types, I created a

number of simple Java programs, all of which are similar to the following:

               public class initArrayTest10 {
                   private static int[] array = {
                       1, 2, 3, 4, 5, 6, 7, 8, 9, 10
                   };

                    public static void main(String[] argv) {
                        System.out.println("Hello world");
                    }
               }

The source code of all of the Java programs used for this experiment is shown in Appendix E.

       63.     Each program consists of a statically initialized array – the data type and number

of elements in the array were varied. The contents of the main() method are the same in each

case, so the only influence on the dex file size is the number and type of the array elements, and

whether or not the array initialization is being optimized.




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       64.       The array initialization in the program shown above translates to the following

Java bytecode. There are 44 instructions in this sequence, 40 of which initialize the array:

0      bipush 10                                      24      dup

2      newarray 10                                    25      iconst_5

4      dup                                            26      bipush 6

5      iconst_0                                       28      iastore

6      iconst_1                                       29      dup

7      iastore                                        30      bipush 6

8      dup                                            32      bipush 7

9      iconst_1                                       34      iastore

10     iconst_2                                       35      dup

11     iastore                                        36      bipush 7

12     dup                                            38      bipush 8

13     iconst_2                                       40      iastore

14     iconst_3                                       41      dup

15     iastore                                        42      bipush 8

16     dup                                            44      bipush 9

17     iconst_3                                       46      iastore

18     iconst_4                                       47      dup

19     iastore                                        48      bipush 9

20     dup                                            50      bipush 10

21     iconst_4                                       52      isatore

22     iconst_5                                       53      putstatic 5

23     iastore                                        56      return




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        65.     Using the dexdump tool that is part of the Android source distribution, it is

possible to see the normal sequence of Dalvik bytecodes generated for the array initialization in

the program shown above. Note that there are 5 instructions in this sequence, only 1 of which

actually initializes the array:

000150:                           |[000150] initArrayTest10.<clinit>:()V

000160: 1300 0a00                 |0000: const/16 v0, #int 10 // #a

000164: 2300 0600                 |0002: new-array v0, v0, [I // class@0006

000168: 2600 0600 0000            |0004: fill-array-data v0, 0000000a // +00000006

00016e: 6900 0000                 |0007: sput-object v0, LinitArrayTest10;.array:[I // field@0000

000172: 0e00                      |0009: return-void

000174: 0003 0400 0a00 0000 0100 0000 0200 ... |000a: array-data (24 units)

        66.     When the array initialization heuristic is disabled, the following array

initialization code is generated. Note that there are 29 instructions in this sequence, 25 of which

are used to initialize the array:

000150:                           |[000150] initArrayTest10.<clinit>:()V

000160: 1256                      |0000: const/4 v6, #int 5 // #5

000162: 1245                      |0001: const/4 v5, #int 4 // #4

000164: 1234                      |0002: const/4 v4, #int 3 // #3

000166: 1223                      |0003: const/4 v3, #int 2 // #2

000168: 1212                      |0004: const/4 v2, #int 1 // #1

00016a: 1300 0a00                 |0005: const/16 v0, #int 10 // #a

00016e: 2300 0600                 |0007: new-array v0, v0, [I // class@0006

000172: 1201                      |0009: const/4 v1, #int 0 // #0

000174: 4b02 0001                 |000a: aput v2, v0, v1

000178: 4b03 0002                 |000c: aput v3, v0, v2

00017c: 4b04 0003                 |000e: aput v4, v0, v3

000180: 4b05 0004                 |0010: aput v5, v0, v4



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000184: 4b06 0005              |0012: aput v6, v0, v5

000188: 1261                   |0014: const/4 v1, #int 6 // #6

00018a: 4b01 0006              |0015: aput v1, v0, v6

00018e: 1261                   |0017: const/4 v1, #int 6 // #6

000190: 1272                   |0018: const/4 v2, #int 7 // #7

000192: 4b02 0001              |0019: aput v2, v0, v1

000196: 1271                   |001b: const/4 v1, #int 7 // #7

000198: 1302 0800              |001c: const/16 v2, #int 8 // #8

00019c: 4b02 0001              |001e: aput v2, v0, v1

0001a0: 1301 0800              |0020: const/16 v1, #int 8 // #8

0001a4: 1302 0900              |0022: const/16 v2, #int 9 // #9

0001a8: 4b02 0001              |0024: aput v2, v0, v1

0001ac: 1301 0900              |0026: const/16 v1, #int 9 // #9

0001b0: 1302 0a00              |0028: const/16 v2, #int 10 // #a

0001b4: 4b02 0001              |002a: aput v2, v0, v1

0001b8: 6900 0000              |002c: sput-object v0, LinitArrayTest10;.array:[I // field@0000

0001bc: 0e00                   |002e: return-void

       67.     Comparing these two Dalvik bytecode sequences, it is clear that the allocation of

the array object is not affected by the heuristic – the following two instructions load the array

size into a register and allocate the array and are found in both sequences:

000160: 1300 0a00              |0000: const/16 v0, #int 10 // #a

000164: 2300 0600              |0002: new-array v0, v0, [I // class@0006

       68.     The assignment of the allocated and initialized array object to the field is also the

same, and is done with a single instruction in both cases:

00016e: 6900 0000              |0007: sput-object v0, LinitArrayTest10;.array:[I // field@0000

       69.     The difference between the two Dalvik bytecode sequences is the initialization of

the array. When the heuristic is enabled, the initialized array values are inserted into the code,


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and the fill-array-data instruction is used to copy these initialized array values into the allocated

array object. When the heuristic is disabled, each element of the array is initialized individually.

This requires that two registers are loaded with the appropriate values for each array element –

the element index and the element value. In the example shown here, there is an overlap between

the set of element indexes used and the element values, enabling the same register to be used

multiple times. The number of instructions required to initialize the array will grow

approximately linearly with the array. Typically, it will be three instructions per array element –

two constant loads and an aput instruction to actually put the right value into the correct array

element. Depending on the data type, this will be a size overhead of 10-14 bytes per array

element.

        D.      Results
        70.     The results of this experiment are shown in the table below. The “Array type” and

“Array size” columns are self-explanatory. The two middle columns show the size in byes of the

dex file both with and without the array initialization optimization. The “Bytes added” column

shows the number of bytes added to the dex file when the optimization was disabled. The “Array

values” column shows the values used for the array initialization. Note that the cost of array

initialization without the optimization is greater when larger numbers are used – this is because it

takes more Dalvik instructions to load a larger constant number into a register prior to storing the

register into an array element to initialize it.

   Array type       Array         Dex with          Dex without      Bytes        Array values
                    size          optimization      optimization     added
   -                No array      748               -                -            None
   int              [10]          904               932              28           1, 2, … 10
   int              [20]          944               1052             108          1, 2, … 20
   int              [100]         1268              2016             748          1, 2, … 100
   int              [100]         1272              2244             972          231-1, 231-2, …
   int              [1000]        4868              12816            7948         1, 2, … 1000
   short            [10]          888               936              48           1, 2, … 10
   short            [20]          908               1056             148          1, 2, … 20
   short            [100]         1068              2016             958          1, 2, … 100
   short            [100]         1076              2048             968          215-1, 215-2, …
   double           [8][8]        1436              1632             196          1.0 … 135.0
   boolean          [10]          876               916              40           True, false



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       71.     The next table shows the number of bytes contributed to the dex file size by the

array. This is approximated by subtracting the size of the dex file with no array defined from the

size of the de file including a static array. The “with optimization” column shows the size of the

array when the play execution technique is used. The “without optimization” column shows the

size when play execution is disabled. The “Ratio” column shows how much the array size grows

without the use of play execution.

   Array type       Array        Array size         Array size       Ratio        Array values
                    size         with               without
                                 optimization       optimization
   -               No array      -                  -                -            None
   int             [10]          156                184              1.18x        1, 2, … 10
   int             [20]          196                304              1.55x        1, 2, … 20
   int             [100]         520                1268             2.44x        1, 2, … 100
   int             [100]         524                1496             2.85x        231-1, 231-2, …
   int             [1000]        4120               12068            2.93x        1, 2, … 1000
   short           [10]          140                188              1.34x        1, 2, … 10
   short           [20]          160                308              1.93x        1, 2, … 20
   short           [100]         320                1268             3.96x        1, 2, … 100
   short           [100]         328                1300             3.96x        215-1, 215-2, …
   double          [8][8]        688                884              1.28x        1.0 … 135.0
   boolean         [10]          128                168              1.31x        True, false
       72.     By examining the Dalvik bytecode sequences presented above, it can be seen that

the difference in the size of the dex file will not be completely linear with respect to the array

size. This is true because the number of registers required to be initialized will depend on the set

of values used by the array elements to be initialized, and the number of Dalvik bytecodes to

initialize a register depends on the magnitude of the number with which the register is to be

initialized. It is clear though that the array initialization optimization through play execution does

have a significant impact on both the size of the dex file and the number of Dalvik bytecodes that

must be executed to initialize the array.

       E.      ’520 CONCLUSION
       73.     The use of a heuristic to spot static array initialization, play execution of the array

initialization bytecodes and the storing of the contents of the initialized array significantly




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                            EXHIBIT 2-8
